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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURG DIVISION

Jeff Shively                                            Case No.
323 Franklin St.
Butler, PA 16001                                        Judge:

        Plaintiff,                                        COMPLAINT FOR DAMAGES
                                                            UNDER THE FAIR DEBT
v.                                                       COLLECTION PRACTICES ACT,
                                                       INVASION OF PRIVACY AND OTHER
Credit Control, LLC                                           EQUITABLE RELIEF
c/o CT Corporation System, Registered Agent
208 S LaSalle St
Chicago, IL 60604                                      JURY DEMAND ENDORSED HEREIN

        Defendant.


                                  JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper in this district because this is the judicial

     district where all of the events giving rise to the cause of action took place.

                                FACTS COMMON TO ALL COUNTS

2. The Plaintiff is a person who incurred a consumer debt primarily for personal, family or

     household purposes.

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. The Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. The debt in question qualifies as a “debt” as defined by 15 U.S.C. §1692a(5).

7. Defendant is either the holder of the debt or was retained by the current holder to collect the

     debt.




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8. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

9. On or around July 29, 2008, Defendant telephoned Plaintiff’s father (“Father”).

10. During this communication, Father notified Defendant that Plaintiff did not reside with

   parents and could not be reached at the telephone number called.

11. During this communication, Defendant disclosed to Father that Defendant was calling to

   collect a debt that Plaintiff owed.

12. Despite having notice, Defendant telephoned Father multiple times thereafter.

13. During many of these communications, Father again notified Defendant that Plaintiff did not

   reside with parents and could not be reached at the telephone number called.

14. During many of these communications, Father asked Defendant to stop calling Father.

15. During many of these communications, Defendant accused Father of lying about his identify,

   claiming that Father was actually Plaintiff.

16. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

17. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. The Defendant violated 15 U.S.C. §1692d in that defendant used obscene and/or abusive

   language during its communications in furtherance of debt collection.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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21. The Defendant violated 15 U.S.C. §1692c in that it contacted a third party and disclosed the

   existence, nature and/or amount of the debt.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. The Defendant violated 15 U.S.C. §1692c in that it contacted a third party more than once

   and is without justification for multiple contacts.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. The Defendant violated 15 U.S.C. §1692c in that it contacted a third party and failed to

   comply with 15 U.S.C. §1692b.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

26. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

27. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect a debt.

                                           COUNT SIX

                       Violation of the Fair Debt Collection Practices Act

28. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

29. The Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   conversations with Plaintiff.




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                                          COUNT SEVEN

                   Invasion of Privacy by Public Disclosure of a Private Fact

30. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

31. Defendant released information which was private to the Plaintiff and concerned Plaintiff’s

   private life to Plaintiff’s father.

32. The disclosure of Plaintiff’s debt to this party is highly offensive.

33. The information disclosed is not of legitimate concern to the public.

                                          COUNT EIGHT

                        Invasion of Privacy by Intrusion upon Seclusion

34. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

35. Defendant intentionally interfered, physically or otherwise, with the solitude, seclusion, and

   or private concerns or affairs of the Plaintiff.

36. Defendant intentionally caused harm to the Plaintiff’s emotional well being by engaging in

   highly offensive conduct in the course of collecting a debt, as described herein.

37. Plaintiff has a reasonable expectation of privacy in Plaintiff’s solitude, seclusion, and or

   private concerns or affairs.

38. The intrusion by Defendant occurred in a way that would be highly offensive to a reasonable

   person in that position.

39. As a result of such invasions of privacy, Plaintiff is entitled to actual damages in an amount

   to be determined at trial from Defendant.



                                         JURY DEMAND

40. Plaintiff demands a trial by jury.




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                                      PRAYER FOR RELIEF

41. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages pursuant to 15

                U.S.C. §1692k and costs, and reasonable attorney’s fees pursuant to 15 U.S.C.

                §1692k.

            b. Judgment, in an amount to be determined at trial, against Defendant for the

                Invasion of Privacy by Intrusion upon Seclusion.

            c. Judgment, in an amount to be determined at trial, against Defendant for the Public

                Disclosure of a Private Fact.

            d. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                LEGAL HELPERS, P.C.

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